 CaseG-3
Form  23-06782       Doc 188        Filed 09/11/23 Entered 09/11/23 12:03:11       Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

In re: IYS VENTURES, LLC                        )   Chapter 11
                                                )
                                                )   No. 23-06782
                                                )
                        Debtor(s)               )   Judge David D. Cleary

                                      NOTICE OF MOTION

TO: See attached list

                                                                      10:00 a.m. I will appear
                                          September 20, 2023 at ____________,
        PLEASE TAKE NOTICE that on __________________,
                      David D. Cleary
before the Honorable ________________________,      or any judge sitting in that judge’s place,
                      644 of the ___________________________________________
either in courtroom ______         Everett McKinley Dirksen United States Courthouse         ,
_________________________________________,
 219 S. Dearborn Street, Chicago, IL 60604         or electronically  as described below,  and
present the motion of Ally Bank
                      ______________________________________________________[to/for]
Relief from the Automatic Stay__________________
______________________________________________________,             a copy of which is attached.

      All parties in interest, including the movant, may appear for the presentment of the
motion either in person or electronically using Zoom for Government.

       You may appear electronically by video or by telephone.

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and passcode.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and passcode.

                                                                      161 122 6457 and the
        Meeting ID and passcode. The meeting ID for this hearing is ______________,
               Cleary644
passcode is ____________. The meeting ID and passcode  can also be  found on the judge’s page
on the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.

                                                   James M. Philbrick
                                               By: _________________________________

                                                    James M. Philbrick
                                                    Law Offices of James M. Philbrick, P.C.
                                                    P.O. Box 351
                                                    Mundelein, IL 60060
                                                    Phone: (847) 949-5290
                                                    jamesphilbrick@comcast.net
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                                               OF SERVICE

           Cathy Bush
        I, _______________________________,       certify [if an attorney]/declare under penalty of
perjury under the laws of the United States of America [if a non-attorney] that I served a copy of
this notice and the attached motion on each entity shown on the attached list at the address
                                                   September 11, 2023
shown and by the method indicated on the list on _________________________,          at 5:00 p.m.
                                                                                        _________.



                                       /s/ Cathy Bush
                                      _____________________________
                                      [Signature]




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                         ATTACHMENT “SERVICE LIST”


Monica C O'Brien                         Patrick S Layng
Gregory K. Stern, P.C.                   Office of the U.S. Trustee, Region 11
53 West Jackson Boulevard, Suite 1442    219 S Dearborn St
Chicago, IL 60604                        Room 873
monica@gregstern.com                     Chicago, IL 60604
Attorney for Debtor                      USTPRegion11.ES.ECF@usdoj.gov
via electronic notification              U.S Trustee
                                         via electronic notification

IYS Ventures, LLC                        Muwafak Rizek
15416 South 70th Court                   7924 Keystone Road
Orland Park, IL 60462                    Orland Park, IL 60462-5166
Debtor                                   Co- Debtor
via US Mail                              via US Mail



SERVED BY UNITED STATES MAIL:


Aramark Uniform                          BMW Financial
Services                                 Services
2334 South Michigan                      Customer Service
Avenue                                   Center
Chicago, IL 60616                        PO Box 3608
                                         Dublin, OH
                                         43016-0306

Byzfunder NY LLC                         Coca-Cola Bottling
530 7th Avenue                           Company
Suite 505                                PO Box 105637
New York, NY 10018                       Atlanta, GA 30348

EBY Brown Company LLC                    Fox Capital Group, Inc.
1415 West Diehl                          1407 Broadway
Road                                     40th Floor
Naperville, IL 60563                     New York, NY 10018

Frito-Lay, Inc.                          Itria Ventures
7700 Bulldog Drive                       1 Penn Plaza
Summit Argo, IL 60501                    Suite 3101
                                         New York, NY 10119
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Manistique Oil                          Patriot Capital
Company                                 Corporation
216 Deer Street                         3565 Piedmont Road
Manistique, MI 49854                    NE Building 1
                                        Suite 430
                                        Atlanta, GA 30305

Pepsi Beverages Co.                     Red Bull Distrtibution
2541 West 20th                          Company
Avenue                                  PO Box 204750
Oshkosh, WI 54904                       Dallas, TX 75320


Samson Funding                          The Huntington
17 State Street                         National Bank
Suite 630                               17 South High Street
New York, NY 10004                      Columbus, OH 43215

U.S. Small Business                     Wisconsin
Administration                          Department of
409 3rd Street SW                       Revenue
Washington, DC                          2135 Rimrock Road
20416                                   Madison, WI 53713

Xcel Energy
PO Box 9477
Minneapolis, MN
55484-9477
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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION
IN RE:                            ) In Proceedings
                                  ) Under Chapter 11
IYS Ventures, LLC                 )
Debtor                            ) Case No. 23-06782
                                  ) Honorable Judge David D. Cleary

              MOTION FOR RELIEF FROM STAY OR IN THE ALTERNATIVE
                           MOTION FOR ADEQUATE PROTECTION

       NOW COMES Ally Bank, by and through its undersigned attorney, and as for its Motion
for Relief from Stay or in the alternative Motion for Adequate Protection, states as follows:

  1.   Ally Bank is a Creditor of the Debtor and is seeking relief pursuant to 11 U.S.C. § 362.

  2.   On August 13, 2022, Debtor IYS Ventures, LLC and Co- Debtor Muwafak Rizek
       executed a Retail Installment Contract for an interest in one, 2022 Nissan Altima

       Sedan 4D SR 2.5L I4, VIN 1N4BL4CV8NN412200 ("Contract"). A true and correct
       copy of the Contract is attached hereto as Exhibit "A".

  3.   Ally Bank has a properly perfected interest in the Collateral, and said lien was noted

       upon the Certificate of Title in connection with the aforesaid motor vehicle. A true and
       correct copy of the Certificate of Title is attached hereto as Exhibit "B".

  4.   On May 23, 2023, the Debtor filed a voluntary petition under Chapter 11 of Title 11
       of the United States Bankruptcy Code.

  5.   As of September 1, 2023, the total debt owed to Ally Bank was $30,990.30. Ally Bank
       alleges the value of said motor vehicle is approximately $25,125.00 pursuant to a

       N.A.D.A. Valuation attached hereto as Exhibit "C".

  6.   Cause to lift the stay exists because the Debtor is in default. Debtor has not made
       sufficient payment towards adequate protection prior to confirmation. The total post-

       petition arrears are in the amount of $1,779.84. The last payment was received on May
       4, 2023. A copy of the payment history is attached as Exhibit "D".
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  7.   This motor vehicle is not necessary for the Debtor’s effective reorganization.

  8.   Ally Bank’s collateral is a rapidly depreciating asset.
  9.   Ally Bank's collateral is rapidly depreciating, and therefore should be allowed to

       immediately enforce and implement any Order Modifying the Automatic Stay that this

       Honorable Court may enter, notwithstanding Federal Bankruptcy Rule 400l(a)(3).


       WHEREFORE, Ally Bank prays this Honorable Court for the entry of an order modifying
the automatic stay pursuant to 11 U.S.C. § 362 and so as to allow Ally Bank to take possession

of one 2022 Nissan Altima Sedan 4D SR 2.5L I4, VIN 1N4BL4CV8NN412200. In the event

that the Court fails to terminate the automatic stay, Movant asks the Court to enter an order
adequately protecting Movant's interest in the Collateral; and to enforce its rights against the

security in accordance with the agreement and/or applicable state laws and to find that Federal
Rule 400l(a)(3) of the Federal Rules of Bankruptcy Procedure is waived and thus Ally Bank may

immediately enforce and implement the Order Modifying the Automatic Stay and for such other
and further relief as the Court may deem just and proper.


                                              Respectfully submitted,

                                              /s/ James M. Philbrick
                                               James M. Philbrick
                                              Law Offices of James M. Philbrick, P.C.
                                               P.O. Box 351
                                              Mundelein, IL 60060
                                              Phone: (847) 949-5290
                                              jamesphilbrick@comcast.net
